Case 1:19-cv-00005-MSM-PAS Document 78 Filed 01/28/21 Page 1 of 1 PageID #: 1079




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


                                           )
  DOLORES CEPEDA,                          )
                                           )
         Plaintiff,                        )
                                           )
         v.                                )
                                             C.A. No. 1:19-CV-00005-MSM-PAS
                                           )
  BANK OF AMERICA, N.A.; FAY               )
  SERVICING, LLC; and                      )
  WILMINGTON TRUST NATIONAL                )
  ASSOCIATION SOLELY AS                    )
  TRUSTEE FOR THE MFRA TRUST               )
  2014-2,                                  )
                                           )
         Defendants.                       )


                        CORRECTED AMENDED JUDGMENT

        The Court issues the following Corrected Amended Judgment as a correction
  to the Amended Judgment, ECF No. 78. It is now hereby ordered, adjudged and
  decreed as follows:

        Pursuant to this Court’s orders entered on September 28, 2020 and January
  28, 2021, and in accordance with Fed. R. Civ. P. 58, judgment is hereby entered with
  prejudice in favor of Defendants Bank of America, N.A., Fay Servicing, LLC, and
  Wilmington Trust National Association Solely as Trustee for the MFRA Trust 2014-
  2, and against Plaintiff Dolores Cepeda. However, the Plaintiff’s Truth In Lending
  Act claim against Fay Servicing and Wilmington Trust is dismissed without
  prejudice.

        It is so ordered.



        January 28, 2021                             By the Court:


                                                     /s/Hanorah Tyer-Witek
                                                     Clerk of Court
